Case 2:17-cv-01915-SM-JCW Document1 Filed 03/07/17 Page 1 of 13

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FOR THE EASTERN DISTRICT OF LOUISIANA _

 

 

 

 

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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF LOUISIANA

 

UNITED STATES OF AMERICA, EX REL.
THOMAS PROSE a G

QUI TAM COMPLAINT

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CIVIL ACTION NO.: 5g Ry will’ corms
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Plaintiffs,
JURY TRIAL DEMANDED

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FILED IN CAMERA aul. C WAG. C
UNDER SEAL PURSUANT
TO 31 U.S.C. § 3730(B)(2)

Vv.

CENTRAL CONTROL, LLC and
PROVIDER HEALTH SERVICES, LLC

Defendants.

 

I. INTRODUCTION

Qui Tam Relator Thomas Prose, M.D., through his counsel and on behalf of the United
States of America, brings this Complaint against Central Control, LLC and its subsidiary
Provider Health Services, LLC and alleges based upon his own direct and independent
knowledge:

L. This is an action to recover damages and civil penalties on behalf of the United
States of America, arising from false and/or fraudulent records, statements and claims made,
used and caused to be made, used, or presented by Central Control and its agents, predecessors,
successors, and employees in violation of the Federal Civil False Claims Act, 31 U.S.C. §§ 3729-
3733, as amended (“the FCA” or “the Act”).

2 Central Control is a Louisiana-based healthcare company that specializes in long-
term care. Through its subsidiary, Provider Health Services (“PHS”), Central Control has paid
illegal kickbacks to physicians in order to induce referrals to federal healthcare programs,
including the Medicare and Medicaid programs. These kickbacks have resulted in millions of

dollars of false claims paid by federal healthcare programs for each of the last several years.
Case 2:17-cv-01915-SM-JCW Document1 Filed 03/07/17 Page 3 of 13

Upon information and belief, Central Control continues to implement this illegal business model
to this day.

3. As described in more detail below, Central Control, through PHS, provides Nurse
Practitioner (“NP”) services to patients requiring long-term care. In particular, PHS NPs perform
Evaluation and Management (“E&M”) services (i.e., office visits) for patients who are admitted
to a long-term care facility. PHS seeks and receives reimbursement for those services from
federal healthcare programs.

4. In order to win the opportunity to provide these services, PHS must convince the
treating physicians at long-term care facilities to hire PHS. As an incentive for and conditioned
upon hiring PHS, Defendants pay the physicians illegal kickbacks in the form of monthly per-
patient fees to incentivize physicians to refer patients to PHS and to allow PHS nurse
practitioners access to their patients so that they can treat these patients and bill CMS for these
services.

5. The per-patient fees vary based on the expected volume and value of the services
PHS will be able to bill and amount to thousands of dollars in cash for each physician. Because
they are paid with the intent of inducing referrals to federal healthcare programs, the fees violate
the federal Anti-Kickback Statute (“AKS”), 42 U.S.C. § 1320a-7b(b). Each claim submitted by
Defendants — or by the treating facility — that was “tainted” by these illegal kickbacks is, in turn,
a false claim under the FCA.

Il. JURISDICTION AND VENUE

6. This Court has jurisdiction over the subject matter of this action pursuant to 28
U.S.C. § 1331, 28 U.S. C. § 1367 and 31 U.S.C. § 3732.

hs This Court has personal jurisdiction and venue over Central Control and PHS

pursuant to 28 U.S.C. §§ 1391(b) and 31 U.S.C. § 3732(a) because that section authorizes
Case 2:17-cv-01915-SM-JCW Document1 Filed 03/07/17 Page 4 of 13

nationwide service of process and because Defendants each have minimum contacts with the
United States. Moreover, both Defendants transact business in this District.

8. Venue is also proper in this District pursuant to 31 U.S.C. § 3731(a) because
Central Control and PHS can be found in and conduct business in this District. At all times
relevant to this Complaint, Central Control and PHS have regularly conducted substantial
business within the District, had employees based in Louisiana, and made significant sales within
Louisiana — including the conduct at issue in this Complaint.

I. THE PARTIES
A. Relator

9. Relator Dr. Thomas Prose is a resident of the state of Michigan and a citizen of
the United States.

10. Dr. Prose is the founder and owner of General Medicine P.C. General Medicine is
a collaborative practice of board-certified physicians and advanced nurse practitioners who
specialize in the care of post-acute care patients in long-term care facilities. Among others
things, General Medicine provides “post-hospitalist” medical services, Skilled Nursing Facility
(“SNF”) program services, facility medical director services, attending physician services, and
advanced nurse practitioner services.

11. Dr. Prose earned his Medical Doctorate, his master’s degree in Public Health, and
his master’s degree in Business Administration from the University of Michigan. He has more
than 30 years of experience in internal medicine, geriatrics and health care administration. He
founded General Medicine in 1983. Dr. Prose served as medical director at Cigna Insurance

Company for their Medicare business. He also served as a medical consultant and member of the
Case 2:17-cv-01915-SM-JCW Document1 Filed 03/07/17 Page 5 of 13

board of directors to a number of organizations, federal and state agencies, insurance carriers and
health care systems.

12. For the reasons set forth in this Complaint, Dr. Prose is an “original source,” as
that term is used in the FCA. See 31 U.S.C. 3730(e)(4)(B),

B. Defendants

13. Central Control is a limited liability company headquartered in Pineville,
Louisiana. According to its website, Central Control owns or operates ten long-term care
facilities, a behavioral health hospital, and a behavioral health outpatient services facility in
Louisiana.

14. PHS is a Delaware limited liability company. Upon information and belief, PHS
is a wholly-owned subsidiary of Central Control. PHS contracts with long-term care facilities to
provide NP services.

IV. APPLICABLE LAW
A. Medicare and Medicaid

1g, Medicare is a federally funded and administered health insurance program that
provides benefits to certain groups. The program was created by Title XVIII of the Social
Security Act, 42 U.S.C. §§ 1395 ef seq. The U.S. Department of Health and Human Services
(“HHS”) administers the Medicare program through the Centers for Medicare & Medicaid
Services (“CMS”).

16. The Medicare program is divided into four components: (1) Part A, the hospital
insurance benefits program, 42 U.S.C. §§1395c, 1395d; (2) Part B, the supplemental medical
insurance benefits program, which pays for a portion of certain medical and other services, 42

U.S.C. §§ 1395}, 1395k, 1395i; (3) Part C, the Medicare Advantage Program, which allows CMS
Case 2:17-cv-01915-SM-JCW Document 1 Filed 03/07/17 Page 6 of 13

to contract with public and private entities to provide Medicare Parts A and B benefits to certain
beneficiaries, 42 U.S.C. §1395w-21 ef seq.; and (4) Part D, the voluntary prescription drug
benefit program. 42 U.S.C. § 1395w-101 ef seq.

17. Title XIX of the Social Security Act (the “Medicaid Act’) authorizes federal
grants to the states for Medicaid programs to provide medical assistance to persons with limited
income and resources. Medicaid programs are administered by the states in accordance with
federal regulations. State Medicaid agencies conduct their programs according to a State plan
approved by CMS. The state agency responsible for administering the state’s Medicaid program
pays providers for medical care and services provided to eligible Medicaid recipients.

18. State Medicaid programs are jointly financed by the federal and _ state
governments. The federal government pays its share of expenditures to the states on a quarterly
basis according to statements of expenditures submitted by the states and a formula set forth in
sections 1903 and 1905(b) of the Medicaid Act.

B. Medicare and Medicaid Coverage for Non-Physician Providers

19. Medicare Fee For Service (“FFS”) pays for certain covered services provided to
beneficiaries by Non-Physician Providers, including Nurse Practitioners. For a service rendered
by a NP to be covered by Medicare it must be, among other things, medically necessary and
provided in collaboration with a physician.

20. Generally, services are considered medically necessary if they meet the standards
of good medical practice and are proper and needed for the diagnosis or treatment of the patient’s
medical condition; are furnished for the diagnosis, direct care, and treatment of the patient’s

medical condition; and are not mainly for the convenience of the patient, provider, or supplier.
Case 2:17-cv-01915-SM-JCW Document1 Filed 03/07/17 Page 7 of 13

Zl; Collaboration occurs when the NP works with one or more physicians to deliver
health care services within the scope of their professional expertise; and medical direction and
appropriate supervision is provided as required by the law of the state in which the services are
furnished.

22. Examples of NP services that Medicare reimburses include: taking the patient’s
history, performing a physical exam, and ordering appropriate laboratory tests and procedures;
diagnosing, treating, and managing acute and chronic diseases; providing prescriptions and
coordinating referrals; and promoting healthy activities in collaboration with the patient.

23. NPs may bill for covered services using their own National Provider Information
number (a unique 10-digit identification number issued by CMS to health care providers), or that
of their employer. Medicare pays such services at eighty-five percent (85%) of the Medicare
Physician Fee Schedule — i.e., at 85 percent of what Medicare would reimburse a physician for
rendering those services.

24. To qualify under FFS, a NP must be a registered professional nurse authorized by
the State in which the services are provided to practice as a NP in accordance with state law. In
addition, NPs must have obtained Medicare billing privileges as a NP. For those who obtained
such privileged after January 1, 2001, NPs must also be certified as a NP by a recognized
national certifying body that has established standards for NPs and have a Master’s degree in
nursing or a Doctor of Nursing Practice degree.

25. | NPs may also bill state Medicaid programs for services within their scope of
practice as defined by state law. While the services that are reimbursable under Medicaid vary by
state, they tend to track those of the Medicare program. Reimbursement rates under Medicaid for

NP services are as high as one-hundred-percent (100%) of the FFS physician rates, but more
Case 2:17-cv-01915-SM-JCW Document 1 Filed 03/07/17 Page 8 of 13

typically are a slightly lower rate than would be paid were a physician to have performed the
same services.
C.  Anti-Kickback Statute

26. The federal Anti-Kickback Statute (*“AKS”), 42 U.S.C. § 1320a-7b(b) is a
criminal statute that prohibits anyone from knowingly or willfully paying or receiving
remuneration in exchange for referrals or the purchase of any item or service that may be paid
for by a federal healthcare program. The statute arose out of congressional concern that
payments or things of value provided to those who can influence healthcare decisions would
result in goods and services being provided that are medically unnecessary, of poor quality, or
harmful to patients. “Remuneration” under the AKS has been broadly interpreted by courts to
include anything of value — including office services provided at less than fair market value.

DT. After amendments enacted pursuant to the Affordable Care Act, the AKS now
specifically provides that a violation of the statute constitutes a false or fraudulent claim under
the FCA. 42 U.S.C. § 1320(g).

V. DEFENDANTS’ VIOLATIONS OF THE ANTI-KICKBACK STATUTE
A. PHS’s Services

28. PHS provides NP services to Medicare and Medicaid beneficiaries who are being
treated at long-term care facilities in at least 12 different states, including Louisiana.

29. Long-term care facilities include nursing homes, skilled nursing facilities, and
assisted living facilities, and are designed to provide a variety of services, both medical and
personal care, to people who are unable to manage independently in the community.

30. According to PHS’s website, PHS nurses specialize in geriatric care and provide

at least the following services for long-term care facilities: making regular rounds at the facility:
Case 2:17-cv-01915-SM-JCW Document 1 Filed 03/07/17 Page 9 of 13

providing 24/7 call coverage for long-term care patients; assessing patients, reviewing
medications, orders, and laboratory tests; performing annual history and physical assessments,
reviewing and responding to abnormal laboratory values; reviewing and responding to pharmacy
and consultant recommendations such as psychiatric, dietary, speech therapy, and physical
therapy; attending to acute and chronic problems presented on a daily basis; and conducting
follow-up visits for patients experiencing acute illness such as infections, respiratory problems,
urinary tract disorders, and wound management or, for patients whose chronic condition
changes.

31. Upon information and belief, PHS bills those services under its own National
Provider Information or that of Central Control.

ave Upon information and belief, PHS enters services contracts with long-term care
facilities and it is pursuant to those agreements that PHS’s NP services are furnished to the
facilities’ patient population.

33; Most patients at a long-term care facility are treated by physicians affiliated with
the facility (as opposed to the patient’s primary care physician prior to admission). Upon
information and belief, at all times relevant to this Complaint, PHS has understood that to win
contracts with long-term care facilities, it had to convince those physicians to allow PHS to treat
their patients and to convince the respective facilities that they should hire PHS.

34. Often, treating physicians at a long-term care facility use the NPs from their own
office to provide NP services to their facility’s patients. In these cases, either the physician or the
physician’s practice has to pay for the nurse practitioners salary and benefits.

ao. Upon information and belief, at all times relevant to this Complaint, PHS has

emphasized to treating physicians of long-term care patients that PHS NPs do not require any
Case 2:17-cv-01915-SM-JCW Document 1 Filed 03/07/17 Page 10 of 13

direct physician supervision for the services they render and, thus, by directing a facility to hire
PHS, physicians will not taking on any additional burden.
B. PHS’s Scheme

36. | Upon information and belief, at all times relevant to this Complaint, PHS has
understood that it had to overcome two significant barriers in order to win opportunities to
provide its NP services: (1) the reluctance of physicians to allow access to their patients. (2) the
reluctance of physicians to enter into a collaborating relationship with NP’s (3) the inclination of
the treating physicians to provide the same services themselves or using their office’s NPs; and
(4) competition from other entities that offer the same or similar services.

37. PHS overcame both of those barriers by offering illegal kickbacks to treating
physicians as an incentive to physicians to refer patients to PHS and to allow PHS nurse
practitioners access to their patients so that they can treat these patients and bill CMS for these
services and to direct long-term care facilities to contract with PHS.

38. More specifically, PHS entered into sham “physician consulting agreements” with
treating physicians as a condition of PHS being hired to provide NP services at long-term care
facilities. Under these agreements, PHS pays the physician a monthly fee that is based on the
facility’s monthly average census — i.e., the average number of admitted patients cared for by the
facility on a daily basis.

39, Although the consulting agreements purportedly contemplate certain undefined
and unspecified “collaborative services” that will be performed by the physician, in reality the
fees PHS committed to pay bear no relation to those services. Instead the fees are designed and

intended to incentivize treating physicians to direct long-term care facilities to hire PHS.

10
Case 2:17-cv-01915-SM-JCW Document1 Filed 03/07/17 Page 11 of 13

40. PHS’s scheme was a great success. Upon information and belief, dozens of long-
term care facilities in over ten states contracted with PHS, driven at least in part by the kickbacks
offered to treating physicians affiliated with the facilities.

41, One of these facilities is Ascension Oaks Nursing and Rehabilitation facility in
Gonzalez, Louisiana. In 2014, General Medicine approached Ascension Oaks about possibly
supplying NP services. During that process, General Medicine was told by the Medical Director
of the facility, Dr. Elizabeth Curtis, that she would not hire General Medicine unless the
company was willing to provide her a payment similar to the $300 monthly fee she received
from PHS. General Medicine refused to engage in this illegal conduct and was not awarded the
contract. A copy of Dr. Curtis’s “Physician Services Agreement” with PHS is attached hereto as
Exhibit A.

42. Other facilities that PHS is believed to have induced to provide Medicare referrals
based on illegal kickbacks are identified in Exhibit B.

43. As a direct and intended result of this scheme, thousands of false claims were
submitted to Medicare resulting in millions of dollars in reimbursement.

COUNT I

Violations of the Federal False Claims Act
31 U.S.C. § 3729(a)(1)(A)

44. Relator repeats and realleges paragraphs 1-43, as if fully set forth herein.

45. Defendants knowingly presented, or caused to be presented, to an officer or
employee of the United States Government, false or fraudulent claims for payment or approval,
in violation of the False Claims Act, 31 U.S.C. § 3729(a)(1)(A), specifically, claims for payment
to Medicare or Medicaid for NP services.

46. Specifically, Defendants offered remuneration to providers to induce referrals for

services paid for by Medicare or Medicaid. As a direct and foreseeable consequence of

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Case 2:17-cv-01915-SM-JCW Document1 Filed 03/07/17 Page 12 of 13

Defendants’ illegal conduct, millions of dollars of claims were submitted by providers to
Medicare and Medicaid for NP services. Because those claims violated the AKS, they constitute
violations of the FCA as well.

47. Because of Defendants’ acts, the United States sustained damages in an amount to
be determined at trial, and therefore is entitled to treble damages under the False Claims Act,
plus civil penalties of $11,000 for each violation.

COUNT I

Violations of the Federal False Claims Act
31 U.S.C. § 3729(a)(1)(B)

48. Relator repeats and realleges paragraphs 1-47, as if fully set forth herein.

49. Defendants knowingly made or caused to be made false records and statements
material to a false or fraudulent claim in violation of 31 U.S.C. § 3729(a)(1)(B).

50. Specifically, Defendants offered remuneration to providers to induce referrals for
services paid for by federal healthcare programs. As a direct and foreseeable consequence of
Defendants’ illegal conduct, millions of dollars of claims were submitted by providers to
Medicare and Medicaid for NP services. Because those claims violated the AKS, they constitute
violations of the FCA as well.

51. Because of Defendants’ acts, the United States sustained damages in an amount to
be determined at trial, and therefore is entitled to treble damages under the False Claims Act,
plus civil penalties of $11,000 for each violation.

PRAYER FOR RELIEF

WHEREFORE, the Relator requests the following relief:
a. Judgment against Defendants for three times the amount of damages the United
States has sustained because of their actions, plus a civil penalty of $11,000 for each violation of

the False Claims Act. 31 U.S.C. §§ 3729-3733.

12
Case 2:17-cv-01915-SM-JCW Document1 Filed 03/07/17 Page 13 of 13

b. Twenty-five percent (25%) of the proceeds of the action or settlement of the claim if
the Government proceeds with the action, and Thirty percent (30%) of the proceeds of the action
or settlement if the Government does not proceed with the action. 31. U.S.C. § 3730(d)(1)-(2).

c. Reasonable expenses which the Court finds to have been necessarily incurred, plus
reasonable attorneys’ fees and costs. 31 U.S.C. § 3730(d)(1)-(2).

d. Such other relief as the Court deems just and appropriate.

Demand for Jury Trial
Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Relator hereby demands a

trial by jury.

   

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13
